                                                   UNITED STATES DISTRICT COURT
                                                 NORTHERN DISTRICT OF OKLAHOMA

          United States of America,
                                                          Plaintiff,
                                                                             Case Number: 12-CR-054-CVE
          vs.                                                                Date: 6-21-2012
                                                                             Court Time: 9:30 a.m.
          Cody Allen Jones,                                                  Actual Court Time: 9:30 a.m. - 9:52 a.m.
                                                        Defendant.

                                                 MINUTE SHEET - CHANGE of PLEA

 Claire V. Eagan, U.S. District Judge                                  D. Holland, Deputy Clerk         Greg Bloxom, Reporter

Counsel for Plaintiff: Janet S. Reincke, AUSA
Counsel for Defendant: Amanda Folsom, FPD
Age of Defendant: 25
Interpreter: N/A
Defendant appears in person: [x] with Counsel; [] Counsel waived; [] w/o Counsel;                      Defendant: [x] Sworn
[x] Defendant’s name as reflected in the Indictment is the true and correct legal name & was verified in open court
[x] Defendant acknowledges receipt of Indictment [Dkt. #2]
Defendant waives: [] Indictment; [x] Jury Trial; [] Speedy Trial; [] 30 Days Preparation; [] Separate Representation;
                       [x] Waivers approved by Court;
Defendant advised of: [x] charge and [] arraigned; Indictment: [x] Read [] Reading waived
[x] Defendant relates facts of charge
[x] Defendant withdraws not guilty plea as to Count 1 of the Indictment & Defendant enters guilty plea as to Count 1 of the Indictment
[] Remaining Count to be dismissed at sentencing: N/A
[x] Petition to enter plea of Guilty sworn and executed
[x] Findings made
[x] Defendant adjudged guilty as charged as to Count 1 of the Indictment
[x] Petition approved and filed in open Court [x] PSI ordered
[x] SENTENCING SET: 10/1/2012 at 9:30 a.m.
[x] Defendant remanded to custody of U.S. Marshal
[x] In light of the recent Supreme Court rulings in Missouri v. Frye and Lafler v. Cooper, record made whether Defendant received any
more favorable plea offers from the government than this one, and if so, did Defendant understand these offers and refuse them - Attorneys
state this is the best offer given to the Defendant and Defendant confirms.
Additional Minutes:




Minute Sheet Arraignment and/or Change of Plea                                                                                CR-01c (9/11)
